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UNITED STATES COURT OF INTERNATIONAL TRADE                                                 FORM 12


  Comtrad Strategic Sourcing Inc.
                              Plaintiff,

        v.                                                  Court No.                      1:20-cv-03182-3JP
  United States of America, et al.
                              Defendant.

                       NOTICE OF SUBSTITUTION OF ATTORNEY
                                Jon P. Yormick of Yormick Law LLC
        PLEASE TAKE NOTICE that _____________________________________________
has been substituted as attorney of record for plaintiff                in this action in place of
Jon P. Yormick of Flannery Georgalis LLC
_____________________________________________________________________________.

       June 1, 2023
Dated: ___________________
                                                             Comtrad Strategic Sourcing, Inc.
                                                            _______________________________
                                                                  Plaintiff
                                                           /s/ James Long
                                                       By: _______________________________

                                    * * * * * * * * * *

        PLEASE TAKE FURTHER NOTICE that the undersigned hereby appears in this
                       Comtrad Strategic Sourcing, Inc.
action as attorney for ____________________________________________________________
___________________________________________________, the plaintiff                              herein,
and requests that all papers in connection therewith be served upon him..

    ✔   The individual attorney in the undersigned firm, corporate law department, or the
                                                      Jon P. Yormick
Government, who is responsible for the litigation, is ___________________________________.



       June 1, 2023
Dated: __________________                             Yormick Law LLC
                                                      _________________________________
                                                                  Attorney
                                                      5900 Landerbrook Dr., Suite 205
                                                      _________________________________
                                                                Street Address
                                                      Cleveland, OH 44124
                                                      _________________________________
                                                            City, State and Zip Code
                                                      /s/ Jon P. Yormick
                                                  By:_________________________________
                                                             New Attorney of Record

(As amended June 5, 2015, eff. July 1, 2015.)
